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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETERSEN ENERG{A INVERSORA,
S.A.U. AND PETERSON ENERGIA,
S.A.U.,

Plaintiffs, 15 Civ, 2739 (LAP)

-against-

ARGENTINE REPUBLIC AND Y¥PF
S.A.,

Defendants.

ETON PARK CAPITAL MANAGEMENT,
L.P. et al.,

Plaintiffs, 16 Civ. 8569 (LAP)

— in t-
ageasns - ORDER

ARGENTINE REPUBLIC and YPF
S.A.,

Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

Before the Court is Plaintiffs’ renewed “request for an
order determining that a ‘reasonable period of time’ following
entry of this Court’s September 15 Judgment for the purpose of
attaching and executing assets that are subject to the
restriction provided in Section 1610(c) of the Foreign Sovereign
Immunities Act (the ‘FISA,’ 28 U.S.C. § 1610(c)) is co-extensive
with the temporary stay of enforcement that the Court has

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ordered pursuant to Federal Rule of Civil Procedure 62(b).

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(Dkt. no. 534.) The Court deems this to be Plaintiffs’ motion

for the relief specified. The Republic shall respond by letter

no later than 9:00 a.m. on January 8; Plaintiffs may respond no

later than noon on January 9.

SO ORDERED.
New York, New York

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LORETTA A. PRESKA
Senior United States District Judge

Dated:

